     Case 2:19-cv-09302-MCS-E Document 88 Filed 07/26/21 Page 1 of 2 Page ID #:1385




 1 John Burton, State Bar No. 86029
   THE LAW OFFICES OF JOHN BURTON
 2
   128 N. Fair Oaks Avenue
 3 Pasadena, California 91103
   Telephone: (626) 449-8300/Fax (626) 440-5968
 4
   Email: jb@johnburtonlaw.com
 5
   Attorneys for Plaintiffs
 6
 7 Michael N. Feuer, City Attorney – SBN 111529
   Kathleen A. Kenealy, Chief Deputy City Attorney – SBN 212289
 8
   Scott Marcus, Senior Assistant City Attorney - SBN 184980
 9 Cory M. Brente, Senior Assistant City Attorney – SBN 115453
10 Ty A. Ford, Deputy City Attorney – SBN 218365
   200 North Main Street, 6th Floor, City Hall East
11 Los Angeles, California 90012
12 Telephone: (213) 978-7027/ Fax: (213) 978-8785
   Email: ty.ford@lacity.org
13
14 Attorneys for Defendants
15                           UNITED STATES DISTRICT COURT
16                          CENTRAL DISTRICT OF CALIFORNIA
17
      HASMIK JASMINE CHINARYAN,               CASE NO. 2:19-cv-9302 MCS (Ex)
18    Individually and as Guardian ad Litem
      for NEC, a Minor, and MARIANA           [Assigned to Hon. Mark C. Scarsi, USDC-1st Cthse.,
19    MANUKYAN,                               Ctrm. 7C; Magistrate Eick, Roybal-Cthse, Ctrm. 750]

20            Plaintiffs,
                                                  JOINT STATEMENT OF THE CASE
21    vs.
                                              FINAL PRE-TRIAL CONFERENCE
22    CITY OF LOS ANGELES and LOS             DATE: August 9, 2021
      ANGELES POLICE DEPARTMENT,              CTRM: 7C
23                                            TIME:  2:00 p.m.
              Defendants.
24                                            TRIAL
                                              DATE: August 24, 2021
25                                            CRTM: 7C
                                              TIME: 8:30 a.m.
26
27
28
                                              1
     Case 2:19-cv-09302-MCS-E Document 88 Filed 07/26/21 Page 2 of 2 Page ID #:1386




 1          The Plaintiffs, Hasmik Jasmine Chinaryan, her teenage daughter, and their
 2 friend Mariana Manukyan, were in an SUV pulled over by police officers employed
 3 by Defendants City of Los Angeles and the Los Angeles Police Department who
 4 followed “high-risk traffic stop” procedures.
 5       The Plaintiffs contend that the high-risk tactics were not justified under the
 6 totality of the circumstances, and therefore the traffic stop was conducted in an
 7 unreasonable manner that deprived them of rights under the Fourth Amendment.
 8 Defendants deny Plaintiffs’ contentions, and contend that their policies and practices
   did not cause a constitutional violation.
 9
10
      Respectfully submitted,
11
12          /s/ - John Burton1
      By:
13
            John Burton
14       Attorneys for Plaintiffs
15
            /s/ Ty A. Ford
16 By:
   Ty A. Ford, Deputy City Attorney
17
     Attorneys for Defendants
18
19
20
21
22
23
24
25
26
   1
     I hereby attest that all other signatories listed, and on whose behalf the filing is
27 submitted,  concur in the filing’s content and have authorized the filing.
28
                                                 2
